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 7
                           UNITED STATES DISTRICT COURT
 8
                         SOUTHERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                  Case No.: 22-cr-02041-CAB
11                Plaintiff,                    United States’ Motions In Limine to:
12                                              (A)    Admit the Material Witness
                                                       Stipulation and Statements
13           v.                                 (B)    Admit Business and Public
                                                       Records
14                                              (C)    Admit United States Expert
     PATRICIA GAUDRON,                                 Testimony
15                                              (D)    Exclude Witnesses Other than
                                                       Case Agent
16                                              (E)    Exclude Certain References
                  Defendant.                    (F)    Exclude Defense Expert Testimony
                                                (G)    Exclude Self-Serving Hearsay
17                                              (H)    Exclude Evidence of Duress or
                                                       Necessity
18                                              (I)    Compel Discovery
19                                              Hearing Date: September 29, 2022
                                                Time: 11:00 a.m.
20
                                                Honorable Cathy Ann Bencivengo
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22         The United States of America, by and through its counsel, hereby files its Motions
23 in Limine.
24                                              I
25                                STATEMENT OF FACTS
26          On May 16, 2021, at approximately 1:40 pm, a border patrol agent (BPA) was
27    advised by a national guard service member that a red Hyundai Elantra was picking up
28    three to four individuals on Otay Lakes Road, and that the vehicle was seen last driving
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 1    eastbound. BPAs responded, and a BPA saw a vehicle matching the vehicle description
 2    heading westbound on Otay Lakes Road. A BPA attempted to conduct a vehicle stop
 3    with his lights and sirens activated, but the red vehicle picked up speed. In fact, the
 4    vehicle drove over 70 miles per hour in a 50 mile per hour zone. Soon thereafter, the
 5    red vehicle yielded, but an individual was observed opening the front passenger door
 6    and running north.
 7          The driver of the red Hyundai Elantra was identified as Defendant Patricia
 8    Gaudron (Defendant). The two individuals in the backseats stated that they were citizens
 9    of Mexico without any documents allowing them to enter or legally remain in the United
10    States. The individual who attempted to flee the scene by running north was found
11    hiding in thick brush, and he also stated he was a citizen of Mexico without any
12    documents to enter or remain in the United States legally. The three individuals who
13    indicated they were illegally present were Jhonny Daniel Contrerras-Ladino, Jose De
14    Jesus Jimenez-Alvarado, and Victor Perez-Suarez. Defendant was placed under arrest
15    for alien smuggling.
16          Records checks were run on the red Hyundai Elantra, with license plate 7BSC024,
17    which identified Defendant as the registered owner. The vehicle was seized. Inside the
18    vehicle, a BPA was able to observe cardboard boxes on the backseat and floor of the
19    vehicle.
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 1    The BPA noted that alien smugglers often try to keep their vehicles clean and will utilize
 2    items like boxes and blankets to do so, because illegal aliens sometimes walk long
 3    distances and they become dirty due to dirt, dust, and more.
 4         Post-arrest, Defendant was interviewed, and she stated she was not in the area to
 5    pick up anyone. Instead, she claimed, she was in the Otay Lakes Road area to watch ski
 6    divers jump, she just happened to pull over, and an individual asked her to give him and
 7    his friends a ride. Defendant said she agreed, but that she would want at least $40 to do
 8    so. When asked why she sped up, Defendant said the individual in the front passenger
 9    seat was telling her to speed up in the Spanish language. Jhonny Daniel Contrerras-
10    Ladino, Jose De Jesus Jimenez-Alvarado, and Victor Perez-Suarez were also
11    interviewed. Defendant was not charged.
12          However, just eight days later, on May 24, 2021, Defendant was back on Otay
13    Lakes Road. This time she was a passenger in a vehicle she rented, and Jonathan Sarabia
14    was driving. A BPA observed three individuals running across the road and entering the
15    vehicle. The three individuals who entered the vehicle were later identified as Anayelli
16    Tinoco, Gustavo Perez Figueroa, and Ramon Garcia-Montiel.
17          Anayelli Tinoco said she was born in Mexico, she is a citizen of Mexico, she
18    crossed through the Otay mountains, and she paid $8,000 to be smuggled into the United
19    States. Similarly, Gustavo Perez-Figueroa said he was born in Mexico, he is a citizen of
20    Mexico, he crossed through the Otay mountains, and he paid $8,500 to be smuggled into
21    the United States. Ramon Garica-Montiel said he was born in Mexico and smuggled
22    through the Otay mountains. Driver Jonathan Sarabia said that Defendant told him about
23    picking up illegal aliens, and he agreed because Defendant was going to pay him $700.
24    Defendant declined to make any statements post-Miranda.
25          Defendant and Jonathan Sarabia were placed under arrest and charged for
26    transporting certain aliens.
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 1                                               II
 2                               STATEMENT OF THE CASE
 3          On May 24, 2021, Defendant was arrested with Jonathan Sarabia for transporting
 4    certain aliens, in violation of 8 U.S.C. § 1324(a)(1)(A)(ii). 21cr1741-CAB, ECF No. 1.
 5    Defendant and Jonathan Sarabia were arraigned on a three-count Information for
 6    transporting certain aliens. 21cr1741-CAB, ECF No. 31. Defendant Patricia Gaudron
 7    and Jonathan Sarabia also entered stipulations of fact and motions for release of material
 8    witnesses Anayelli Tinoco-Alvarez, Gustavo Perez-Figueroa, Ramon Garcia-Montiel.
 9    21cr1741-CAB, ECF Nos. 32, 54. Jonathan Sarabia pled guilty and was sentenced.
10    21cr1741-CAB, ECF No. 60.
11          Defendant was charged in six-count Indictment for transporting certain aliens in
12    violation of 8 U.S.C. § 1324(a)(1)(A)(ii). ECF No.1. She has pled not guilty. ECF No.
13    8. Trial is scheduled to begin November 28, 2022. Id.
14                                              III
15                                        ARGUMENT
16     A. The Court Should Admit the Material Witness Stipulation and Material
17         Witness Statements
18          The Court should admit the material witness stipulation signed by Defendant.
19    Defendant also stipulated that, “[t]he United States may elicit hearsay testimony from
20    arresting agents regarding any statements made by the material witnesses.” Therefore,
21    to the extent that material witnesses Gustavo Perez-Figueroa, Anayelli Tinoco-Alvarez,
22    and Ramon Garcia-Montiel, are unavailable as witnesses their statements to arresting
23    agents should be admitted. Stipulations freely and voluntarily entered into are binding
24    and enforceable. United States v. Molina, 596 F.3d 1166, 1169 (9th Cir. 2010) (hearsay
25    evidence admitted pursuant to stipulation and joint motion for release of material
26    witnesses was properly admitted). A stipulation allowing for the use of third-party
27    testimony is admissible, nor does it violate a defendant’s rights under the Confrontation
28    Clause. United States v. Contreras-Rangel, 414 F. App'x 943, 944 (9th Cir. 2011).
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 1     B. The Court Should Admit Business and Public Records
 2          The Court should allow the United States to introduce vehicle history records from
 3    the DMV and vehicle seizure documents, which are admissible as business records under
 4    Federal Rule of Evidence 803(6) or public records under Rule 803(8). Pursuant to Rule
 5    803(6), unless the source of the information or the method of preparation indicates a lack
 6    of trustworthiness, the rule against hearsay does not exclude a record of an act, event,
 7    condition, opinion, or diagnosis if the record was made at or near the time by, or from
 8    information transmitted by, someone with knowledge; the record was kept in the course
 9    of a regularly conducted activity of a business or organization; and making the record
10    was a regular practice of that activity, all as shown by the testimony of the custodian or
11    by certification. A “business” includes a “business, institution, association, profession,
12    occupation, and calling of every kind, whether or not conducted for profit.” United
13    States v. Johnson, 297 F.3d 845, 863 & n.11 (9th Cir. 2002).
14     C. The Court Should Admit Expert Testimony by the United States
15          The Court should admit expert testimony from Human Exploitation Group Task
16    Force Officer Carlo Nazareno. Officer Nazareno will testify about how alien smugglers
17    typically operate, how alien smugglers typically coordinate alien smuggling events, the
18    division of responsibility among numerous actors, and the methods used, including – if
19    the defense opens the door – the use of “blind mules.”
20          The Ninth Circuit has upheld the admission of expert testimony in alien smuggling
21    prosecutions. United States v. Lopez-Martinez, 543 F.3d 509, 514 (9th Cir. 2008) (expert
22    testimony from Border Patrol Agent about methods and patterns of human smugglers
23    was allowed). This testimony is proper because it will “help[] the jury to understand
24    complex criminal activities, and alerts it to the possibility that combinations of
25    seemingly innocuous events may indicate criminal behavior.” United States v. Johnson,
26    735 F.2d 1200, 1202 (9th Cir. 1984); see also United States v. Mejia-Luna, 562 F.3d
27    1215, 1219 (9th Cir. 2009) (expert testimony that “assisted the jury in understanding
28    alien smuggling schemes, their operational framework, and Mejia-Luna’s particular role
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 1    as a ‘load’ driver in the operation” was relevant and non-prejudicial in case charging two
 2    counts of transporting illegal aliens).
 3          Additionally, should defense offer evidence or argument that Defendant is an
 4    unknowing courier who was set up by alien smugglers, the Government will seek to
 5    elicit expert testimony concerning the use of blind mules by alien smuggling
 6    organizations.
 7      D. The Court Should Exclude Witnesses During Trial with the Exception of the
 8         Government’s Case Agent
 9         “At a party’s request, the court must order witnesses excluded so that they cannot
10    hear other witnesses’ testimony.” Fed. R. Evid. 615. An exception to this rule exists for
11    “a person whose presence a party shows to be essential to presenting the party’s claim
12    or defense.” Id. The case agent in the present matter, Steven S. Serrano, has been critical
13    in moving the investigation forward to this point and is considered by the United States
14    to be an integral part of the trial team. Therefore, the United States requests that all
15    testifying witnesses, except for the case agent, be excluded during trial pursuant to Rule
16    615. See United States v. Thomas, 835 F.2d 219, 222-23 (9th Cir. 1987) (FBI agent
17    properly exempted from Rule 615 exclusion as an officer for the Government).
18      E. The Court Should Prohibit Certain References
19          Evidence of, and thus argument referring to, Defendant’s gender identity,
20    birthplace, family circumstances, and finances is irrelevant and “[i]rrelevant evidence is
21    not admissible.” Fed. R. Evid. 402. Even if relevant, Rule 403 provides that relevant
22    evidence may be inadmissible “if its probative value is substantially outweighed by the
23    danger of unfair prejudice.”      Fed. R. Evid. 403.     The Ninth Circuit Model Jury
24    Instructions expressly instruct jurors to not be influenced by any “personal likes or
25    dislikes, sympathy, prejudice, fear or public opinion.” Ninth Cir. Crim. Jury Instr. § 3.1
26    (2010 ed.). Accordingly, evidence designed to elicit sympathy, such as that referring to
27    Defendant’s gender identity, birthplace, family circumstances, and finances, should be
28    excluded.
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 1          Additionally, it also “is inappropriate for a jury to consider or be informed of the
 2    consequences of their verdict.” United States v. Olano, 62 F.3d 1180, 1201 (9th Cir.
 3    1995) (internal quotations omitted); Ninth Cir. Crim. Jury Instr. § 7.4 (2010 ed.). This
 4    is because such information tends “to draw the attention of the jury away from their chief
 5    function as the sole judges of the facts, open the door to compromise verdicts and to
 6    confuse the issue or issues to be decided.” Olano, 62 F.3d at 1201 (internal quotations
 7    omitted). As such, any mention of Defendant’s possible penalty also ought to be
 8    excluded.
 9      F. The Court Should Exclude Defense Expert Testimony
10          Pursuant to Federal Rules of Criminal Procedure 16(b) and 26.2, the United States
11    requests that Defendant disclose to the United States all exhibits and documents that
12    Defendant intends to introduce as evidence in her case-in-chief at trial; all statements by
13    any witness whom the Defendant intends to call at trial; and written summaries of
14    testimony that Defendant intends to offer under Federal Rules of Evidence 702, 703, or
15    705 as evidence at trial. The summaries should describe the witnesses’ opinions, the
16    bases and reasons for those opinions, and the witnesses’ qualifications. To date,
17    Defendant has provided no reciprocal discovery, no notice of expert witness, and no
18    reports by expert witnesses. Defendant should not be permitted to introduce any expert
19    testimony if Defendant fails to promptly comply.
20      G. The Court Should Exclude Defendant’s Self-Serving Hearsay
21          Defendant should be precluded from eliciting any of her out-of-court statements
22    either through cross-examination of the Government’s witnesses or from calling
23    witnesses on her own behalf. It is axiomatic that attempts to prove one’s own statements
24    through the testimony of another witness is impermissible because those statements are
25    hearsay. See United States v. Fernandez, 839 F.2d 639, 640 (9th Cir. 1988) (defendant
26    who chose not to testify at trial was properly kept from eliciting self-serving statements
27    during the cross-examination of a Government witness because that is “precisely what
28    the hearsay rule forbids”); Fed. R. Evid. 801(c). Additionally, Defendant cannot rely on
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 1    Federal Rule of Evidence 801(d)(2) to introduce such statements because she is the
 2    proponent of the evidence and because the evidence is not being offered against her.
 3    Introduction by the Government of statements made by Defendant also does not “open
 4    the door” to cross-examination by Defendant concerning her self-serving hearsay
 5    statements. See Fernandez, 839 F.2d at 640. Accordingly, Defendant should not be
 6    allowed to have “self-serving hearsay” brought before the jury without subjecting herself
 7    to cross-examination. See, e.g., id.; United States v. Ortega, 203 F.3d 675, 682 (9th Cir.
 8    2000).
 9     H. The Court Should Exclude Evidence of Duress or Necessity Absent a Pre-
10         Trial Showing of Proof
11          A pretrial motion is the appropriate vehicle to test the sufficiency of a proffered
12    defense and to preclude evidence of the defense if the evidence is insufficient to support
13    it. Fed. R. Crim. Proc. 12(b)(2). The Ninth Circuit has “long held that a defendant is not
14    entitled to present a duress defense to a jury unless the defendant has made a prima facie
15    showing of duress in a pre-trial offer of proof.” United States v. Vasquez-Landavar, 527
16    F.3d 798, 802 (9th Cir. 2008); see also United States v. Schoon, 971 F.2d 193, 195 (9th
17    Cir. 1991) (district court may preclude a necessity defense where “the evidence, as
18    described in the defendant’s offer of proof, is insufficient as a matter of law to support
19    the proffered defense.”). Defendant here has made no such showing and should
20    therefore be precluded from offering evidence of duress or necessity at trial.
21     I. Compel Reciprocal Discovery
22          As of the date of the preparation of these motions, the Government has received
23    no reciprocal discovery, including any photographs defendant intends to introduce at
24    trial. The Government requests that the Court order defendant to comply with Rule 16(b)
25    of the Federal Rules of Criminal Procedure, as well as Rule 26.2 which requires the
26    production of prior statements of all witnesses, except for those of defendant. In
27    particular, if defendant intends to call an investigator at trial, she must provide a
28    statement of the witness in advance of trial.
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 1                                          IV
 2                                    CONCLUSION
 3          For all the foregoing reasons, the Government’s Motions in Limine should be
 4    granted.
 5          DATED: September 15, 2022               Respectfully submitted,
 6
                                                    RANDY S. GROSSMAN
 7
                                                    United States Attorney
 8
 9                                                  /s/ Kiriaki Grammenidis
                                                    KIRIAKI GRAMMENIDIS
10                                                  Assistant United States Attorney
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